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Christopher B. Hadley (Utah Bar No. 14055)
Timothy B. Smith (Utah Bar No. 8271)
JONES WALDO HOLBROOK & MCDONOUGH, P.C.
170 South Main Street, Suite 1500
Salt Lake City, Utah 84101
Telephone: (801) 521-3200
Facsimile: (801) 328-0537
chadley@joneswaldo.com
tsmith@joneswaldo.com

Neil J. McNabnay (pro hac vice)
Noel F. Chakkalakal (pro hac vice)
Nan Lan (pro hac vice to be filed)
FISH & RICHARDSON P.C.
1717 Main Street, Suite 5000
Dallas, Texas 75201
mcnabnay@fr.com
chakkalakal@fr.com
lan@fr.com
Telephone: (214) 747-5070
Facsimile: (214) 747-2091
Attorneys for Defendant Automile, Inc.


                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


       SOCIAL POSITIONING INPUT                        JOINT STIPULATION OF DISMISSAL
            SYSTEMS, LLC,
                                                             Case No: 2:21-CV-00523-DBP
                      Plaintiff,
                                                              JURY TRIAL DEMANDED
                         v.
                                                                    PATENT CASE
               AUTOMILE, INC.,

                    Defendant.



       Plaintiff Social Positioning Input Systems, LLC and Defendant Automile, Inc. by their

respective undersigned counsel, hereby STIPULATE and AGREE as follows:


       1.      All claims asserted by the Plaintiff in this Action are dismissed with prejudice and all

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           claims asserted by the Defendant in this Action are dismissed without prejudice under

           Fed. R. Civ. P. 41(a)(1)(A)(ii);

    2.     Each party shall bear its own costs and attorneys’ fees with respect to the matters

           dismissed hereby;

    This Stipulation and Order shall finally resolve the Action between the parties.

Dated: October 7, 2021

                                                  By: /s/ Christopher B. Hadley
                                                  Christopher B. Hadley (Utah Bar. No. 14055)
                                                  JONES WALDO HOLBROOK &
                                                  McDONOUGH PC
                                                  Neil J. McNabnay (pro hac vice)
                                                  Noel F. Chakkalakal (pro hac vice)
                                                  Nan Lan (pro hac vice to be filed)
                                                  FISH & RICHARDSON P.C

                                                  ATTORNEYS FOR DEFENDANT
                                                  AUTOMILE, INC.

                                                  By: /s/Geoffrey E. Dobbin
                                                  Geoffrey E. Dobbin
                                                  Geoff@DobbinIPLaw.com
                                                  UT Bar #9371
                                                  DOBBIN IP LAW, P.C.
                                                  Attorney for Defendant
                                                  2250 S Redwood Road, Suite 5
                                                  West Valley City, UT 84119-1355
                                                  801-969-6609

                                                  JAY JOHNSON, pro hac vice to be filed
                                                  jay@kjpllc.com
                                                  TX State Bar No. 24067322
                                                  D. BRADLEY KIZZIA, pro hac vice to be
                                                  filed
                                                  bkizzia@kjpllc.com
                                                  TX State Bar No. 11547550
                                                  KIZZIA JOHNSON, PLLC
                                                  1910 Pacific Ave., Suite 13000
                                                  Dallas, Texas 75201
                                                  214-451-0164
                                                  Fax: 214-451-0165

                                                  ATTORNEYS FOR PLAINTIFF
                                                  SOCIAL POSITIONING INPUT SYSTEMS, LLC
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                                  CERTIFICATE OF SERVICE

        I hereby certify that on October 7, 2021, a copy of the foregoing document entitled JOINT
STIPULATION OF DISMISSAL was filed electronically. Notice of this filing will be sent to all
parties of record by operation of the Court’s electronic filing system. Parties may access this filing
through the Court’s system.

Geoffrey E. Dobbin
Geoff@DobbinIPLaw.com
UT Bar #9371
DOBBIN IP LAW, P.C.
Attorney for Defendant
2250 S. Redwood Rd., Suite 5
West Valley City, UT 84119-1355
801-969-6609

Jay Johnson, pro hac vice to be filed
jay@kjpllc.com
TX State Bar #24067322
D. Bradley Kizzia, pro hac vice to be filed
bkizzia@kjpllc.com
TX State Bar #11547550
KIZZIA JOHNSON, PLLC
1910 Pacific Ave., Suite 13000
Dallas, TX 75201
214-451-0164
Fax: 214-451-0165

                                                   /s/ Elizabeth M. Thompson
                                                   An employee of Jones Waldo Holbrook
                                                   & McDonough, PC




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